Case 2:05-cr-20072-.]PI\/| Document 35 Filed 07/07/05 Page 1 of 2 Page|D 47

 

IN THE UNITED STATES DISTRICT cOURT F"“ED BVM~£‘-)- 0-°"-
FOR THE wESTERN DISTRICT 0F TENNESSEE
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UNITED STATES OF AMERICA, C\%US ppTR£TCO|.HT
OF N »,éEWl-HS

Plaintiff,

5
v. cr. No. 34-20072-\~!\\
ARIANE GR_ANT,

Defendant.

-._¢-._r-._r-,¢`,z~_/-._/~._J-._/-._/

 

ORDER TRANSFERRING CASE FOR CONSOLIDATION

 

ThiS case is hereby TRANSFERRED, as to Defendant Ariane Grant
only, to the Honorable Bernice B. Donald for consolidation with USA

v. Ariane Grant, Criminal Case No. 05-20068 D/An.

IT IS SO ORDERED this 2 day of July, 2005.

@pp‘ pcp

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

  
 

 

 

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with Hu|e as 42nd/or 32{10) FRCrP on 2 jj 'O ‘-)

   

UNITED s`T"RATEDIsTIC COURT - W"'RNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
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July 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

